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United States District Court

NORTHERN DISTRICT OF TEXAS

DALLAS DIVISION
MICHAEL JAl\/HSON §
§
§
§
v. § CIVIL ACTION NO. 3:l6~CV-0441-S
§
§
FLUOR FEDERAL SOLUTIONS, LLC §

MEMORANDUM OPINION AND ORDER

rl`his Order addresses Defendant Fluor Federal Solutions, LLC’s (“Defendant”) Motion to
Disiniss Plaintiff Michaei Jarnison’s (“Plaintiff”) Third Amended Complaint [ECF No. 75]. For the
reasons stated beiow, the Motion is granted

I. BACKGROUND
A. Factual Background

This employment dispute arises out of Plaintift"s allegations that he was retaliated against
for engaging in activity protected by the False Claims Act (“FCA”). Pursuant to Special Order 3-318,
this case was transferred from the docket of llodge Jane J. Boyle to the docket of this Court on Mareh
8, 2018.

Job Corps is a program created by the Workforee lnvestrnent Act of 1998. Third Arn.
Compl. 11 7. lts purpose is to provide educational and vocational technical skills, training, and
Support Services through a nationwide network of campuses, known as Job Corps Centers
(“Centers”). Ia'. 1111 7~8. The United States Departrnent of Labor (“DOL”) contracted with Career
Opportunities, lnc. (“COI”), to operate the North Texas Job Corps Center (“NTJCC”), a Center located

in McKinney, Texas. Id. 1]1] 8, 12; see also Third Am. Compl. Ex. (“Pl.’s Ex.”) 3, at art. 2. On October

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l, 2010, Del~Jen, Inc. (“DJI”)l and COl entered into the Subcontract Agreernent regarding the
operation of the NTJCC. Third Am. Cornpl. 1[ 12. According to Plaintiff, by virtue of the
Subcontract Agreement, “COI and DJI were operating the NTJCC jointiy, with shared duties, and
with each company’s employees interacting constantly with the other company’s employees, and
both aware of the operations and events at the [NTJCC].” Id.

COi’s contract with the DOL allegedly was a performance-based contract with built-in
incentive fees, bonuses, and contract extensions determined by comparing the NTJCC’s performance
with other Centers’ performance Id. jl‘|l 8-10. Specitically, the DOL evaluated, rated, and compared
each Center in the following categories: (l) total number of students enrolled, (2) students’
achievements of academic and vocational credentials, (3) initial job placements, and (4) ongoing job
placements following an initial placement. Id. il 9. A Center could achieve a more favorable DOL
rating by increasing the number of students enrolled and graduated Id. il 10. A more favorable DOL
rating resulted in a greater chance of receiving incentive fees, bonuses, and contract extensions Ia'.

Plaintiff alleges that Center operators are required to follow the requirements of 29 U.S.C. §§
2881, et seq., 20 C.F.R. Parts 638 and 670, the DOL Job Corps Offlce Policy and Requii'ements
Handbook (“PRH”), and other DOL guidelines and procedures Id. ‘\l 8. According to Plaintiff, these
guidelines and policies mandate that Center operators enforce a zero-tolerance policy against students
using drugs and other controlled substances, committing acts of violence against other students, or
engaging in inappropriate sexual behavior Id. 1[ 11(2).

In August 2012, D.ll hired Plaintiff as the Safety, Security, and Transportation Manager for

the NTJCC. ld. '[[ 17. His position Was created as a result of a meeting with the FBI, DOL officials,

 

l Fluor Corporation acquired D.II in lanuary 2003. Third Am. Compl. il 12. DJI later merged into Fhror Federai
Solutions, LLC, the entity named as the defendant in the instant lawsuit Def. Fluor Corp.’s Mot. to Disrniss 2 n.l
[ECF No. l 1}. As such, Defendant is DJI’s successor-En-interest. Resp. 9.

 

 

 

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and COl/DJI representatives concerning the City of l\/icKinney lPolice Department’s reported
difficulty conducting investigations at the NTJCC. Id. As Safety, Security, and Transportation
Manager, Plaintiff Was to serve as a liaison to the McKinney Police Departrnent. Id. Plaintiff also
Was required to comply with the applicable regulations, guidelines, and procedures and was
responsible for ensuring the safety of the students at the NTJCC. Ia’. il lS. ln furtherance of his duties,
Plaintiff developed a Memorandum of Understanding with the l\/Icl<finney Police Department that
allowed the police to patrol the NTJCC and required Plaintiff to call the police whenever any narcotics
were discovered at the NTJCC. Id. il l9. ln 20l0 and 2013, the NTJCC also entered into Concurrent
Jurisdiction Agreements with the McKinney Policy Department, pursuant to which the NTJCC agreed
to notify the department of any serious offenses or illegal narcotics on the premises Id. il‘ll 15-16', see
also Pl.’s Exs. 5, 6.

During Plaintiff’s employment, he reported directly to Maria Martin. Third Am. Compi. il 20.
l\/lartin’s title was Social Developrnent Director, and Plaintiff states that she was “technically” a DJI
employee Io'. Plaintiff contends that under the Subcontract Agreernent, compliance with Security
requirements was subcontracted to DJI. Ia'. 11 14. “Therefore, even if at some point Martin became
a COl employee, at all relevant times the Security responsibilities were those of DJI, and any
direction or supervision of [Plaintiff] by Martin was done with the l<nowledge, acquiescence, and
on behalf of DJI.” Id. According to Plaintiff, COI’s principal/owner Lana Kite caused DJI to hire
Martin. Ia’. 111 l3-l4. Plaintiff alleges that regardless of Who her employing entity was, at all times
l\/iartin acted as Kite’s “alter ego” and answered only to Kite. Ia'. 1[ 14.

Plaintiff alleges that throughout his employment, he witnessed severai practices at the NTJCC
that violated the applicable guidelines and regulations For instance, Plaintiff alleges that he opened
a locked door in the security department room and observed various contraband, such as marijuana

and “white powders.” Id. 1{ 21. The lead security day supervisor, Jeffrey Joseph, and Martin

 

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allegedly told Plaintiff that the items in the room had been taken from students without any
disciplinary action or other consequences Ia’. According to Plaintiff, DOL regulations mandate
the expulsion of students responsible for contraband violations Id. And, the Concurrent
Jurisdiction Agreement required that narcotics and other contraband be reported to the McKinney
Police Department Io'. Plaintiff alleges that Martin told him not to call the McKinney Police
Department unless he first received approval from her. la'. il 22. Plaintiff protested and “made it
clear that he intended to fulfill his job responsibilities.” Id.

Other violations Plaintiff allegedly witnessed involved various programs and policies
implemented by l\/iartin. In late 2013, Martin allegedly began an “arnnesty” program, with the
stated goal of reducing the number of students terminated from the NTJCC for violations of policy
by ten percent Iol. ll 23. She allegedly told Plaintiff that, pursuant to this program, if any student
returning from off-campus voluntarily turned over contraband, then that student would not be
expelled, disciplined, or reported to the police. ld. Plaintiff states that he “protested that under
this program, the DOL would be deceived into believing that violations of law . . . were not
occurring, and would thereby be deceived and defrauded.” Id. Plaintiff also found an “amnesty
box” outside the security office, which was a receptacle in Which Students could voluntarily deposit
contraband Id. 1[24. “Plaintiff informed Martin that . . . failure to report these incidents fully and
truthfully would amount to committing fraud against the Government.” lot

Plaintiff also alleges that Martin established an “absolute retention policy,” which meant that
students would remain enrolled at the NJTCC even if they violated the law or DOL regulations Iol ll
25. During the first two months of Plaintiff’s employment, he contends that he observed three to
ten “incidents” a day. ld. 11 26. Plaintiff’s practice was to contact the McKinney Police Department

when he observed these “incidents.” Io'. According to Plaintiff, after he raised concerns about the

 

 

 

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amnesty program and refused to follow it, Martin and other managers began retaliating against Plaintiff
by (i) harassing him, (ii) repeatedly threatening to terminate his employment if he continued to report
incidents of criminal conduct to the police, (iii) instructing the security staff to refrain from notifying
Plaintiff of incidents of violence or drug abuse by students, (iv) transferring Plaintiff s investigation
responsibilities to the Equal Opportunity Manager, and (v) barring Plaintiff from attending weekly
senior management meetings Id. 1|1] 26-33.

Plaintiff had been collecting information evidencing the ongoing violations at the NTJCC, and
he accelerated his gathering of evidence in light of the alleged retaliation lot ll 33. Plaintiff furnished
the information he had collected to counsel he retained to prepare and file a lawsuit Id. On November
19, 20l3, Plaintiff and three others filed a qui tam action against COl and D.`ll.2 Id. il 34. Plaintiff
believes that Defendant knew the lawsuit was filed because of “the flurry of activity that occurred
soon thereafter,” including onsite inquiries begun by the DOL, Office of inspector General, and
United States Attorney’s Office. Id. in early December 2013, an employee of the NTJCC, Fred
Klinger, allegedly told Plaintiff that Martin had instructed Klinger not to give any information to
Plaintiff concerning occurrences on campus Ia'. ll 36. Klinger also said that Martin and Kite were
“very concerned” that Plaintiff had filed or was going to file a lawsuit based on the DOL violations
Plaintiff had witnessed lo’. That same month, DOL officials made an official visit to the NTJCC.'
Id. 11 37.

On January l, 2014, Plaintiff submitted a written complaint letter (the “lnternal Report”) to
Terri Pinrnan, a COl employee, and Harold Honie, an employee of Defendant. Ia’. il 38‘, see also

Pl.’s Ex. 7. ln the lntemal Report, Plaintiff alleged that Martin had harassed him for refusing to follow

 

2 See United Smtes ex rel Jom."son v. Del-Jen, Inc., No. 3:13-cv-04616-L (N.D. Tex. filed Nov. 19, 2013). COl was
dismissed without prejudice from the action on September l6, 2016, and Jamison and the other relators filed a separate
qui tam action against COl on November lS, 2018. See Uni!ed S!ates ex rel Jamr`son v. Coree)' Oppormm'!:'es lnc.,
No. 3:16-cv-03248-S (N.D. Tex. filed Nov. 18, 2016).

 

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directives that violated the PRH and had instructed him not to notify the police when illegal drugs were
found or when incidents of violence or other criminal acts occurred at the NTJCC. Id. Plaintiff
requested that Defendant investigate Martin’s conduct Id. According to Plaintiff, neither Pinrnan
nor Honie acted on the lnternal Report. Third Am. Compl. 11 38. Plaintiff alleges that after he
submitted the internal Report, Martin and Kite continued to exclude him from management
meetings, restrict his access to information, and prevent him from contacting the police. ]o'.
Plaintiff also alleges that Michael Perez3 told him that Plaintiff would be fired if he complained to
the DOL. Id.

Martin and Kite allegedly “engineered further retaliation against Plaintiff” between
January 2014 and May 20l4. lai 11 39. Plaintiff States that Martin told Education Department
employees not to call Plaintiff or the Security Department if there were any incidents Ia’. Plaintiff
alleges that serious incidents were hidden from Plaintiff and redirected to managers that reported
directly to Martin Id. in May 20l4, Plaintiff was suspended Ia’. 11 40. Defendant’s Senior Program
Director, Beverly Lovett, terminated him on lane 20, 2014. Id. 11 41; see also Pl.’s Ex. 8. The stated
reason for his termination was that he had engaged in inappropriate conduct, including trying to obtain
confidential and HlPAA4~pi‘otected Student information Pl.’s Ex. 8, at 76.

According to Plaintiff, Martin interviewed employee Jeannie Lane shortly after Plaintiff’ s
termination Third Am. Compl. 11 42. Martin allegedly “interrogated” Lane about conversations
between Lane and Plaintiff and specifically asked Lane if Plaintiff had ever discussed filing a

lawsuit against DJl/COI for fraud and violations of DOL regulations Id. When Lane said she did

 

3 Plaintiff refers to Perez as an employee, but it is unclear whether Perez was an employee of COI or Dll. See Third
Am. Compi.1127.
“ I-lealth insurance Portability and Accountability Act of 1996.

 

 

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not recall any such conversations Martin allegedly became upset and “blurted out that she [Martin1
‘was sure that Plaintiff had filed a lawsuit.”’ Id.

Based on the foregoing conduct, Plaintiff alleges a cause of action for retaliatory discharge
in violation of section 3730(h) of the FCA. Specifically, Plaintiff contends that Martin “and other
members of managemen ” retaliated against him “for threatening to report, or actually reporting,
their fraudulent conduct, and for undertaking efforts to stop their violations of law, . . . and for
either actually filing, or setting in motion the filing of a qui ram action.” ld. 11 50.

B. Procedural Background

Plaintiff filed the instant lawsuit on February 17, 20l6. Atter Fluor Corporation moved to
dismiss the original complaint, Plaintiff amended the complaint to name the correct defendant, Fluor
Federal Solutions, LLC. Defendant moved to dismiss the amended complaint for failure to state a
claim. vludge Boyle granted Defendant’s motion on July 28, 2017, finding that Jamison failed to
adequately allege facts showing that Defendant knew that Plaintiff “had engaged in any activity
protected by the FCA_an essential element of an FCA retaliation claim.” Jamr'son v. Fluor Fed. Sols.,
LLC, Civ. A. No. 3:16-CV~0441-B, 2017 WL 3215289, at *ll (N.D. Tex. July 28, 2017) (quoting
United Stotes ex rel Ligai v_ ESCO Techs., Inc., 61 l P. App’x. 2l9, 220 (5th Cir. 2015) (per curiam)).
Judge Boyle granted Plaintiff leave to replead his theory that Defendant knew that Plaintiff was
involved in a qui tam action. Id. However, ludge Boyle dismissed with prejudice Plaintiff’ s theory
that the lnternal Report put Defendant on notice of the possibility of qui tam litigation Id. Finally,
ludge Boyle advised Plaintiff that his amended pleading should “take into account all other pleading
deficiencies identified here and in Defendant’s briefing.” ld.

Plaintiff filed a second amended complaint on August 31, 2017. Defendant filed a motion

to dismiss On January 4, 2018, Plaintiff moved for leave to file the Third Amended Complaint.

 

 

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This Court held a status conference on March 15, 2018, and granted Plaintiff’s motion for leave
on August 14, 2018. Defendant moved to dismiss the Third Amended Complaint on August 28,
2018 The parties appeared before the Couit for oral argument on the pending Motion to Dismiss on
December 3, 2018.
II. LEGAL STANDARD

To defeat a motion to dismiss filed pursuant to Federal Rule of Civil Procedure l2(b)(6), a
plaintiff must plead “enough facts to state a claim to relief that is plausible on its face.” Bell Atl.
Corp. v. Twombly, 550 U.S. 544, 570 (2007); Relial)le Consulronts, Inc. v. Earle, 517 F.3d 738,
742 (Sth Cir. 2008). To meet this “facial plausibility” standard, a plaintiff must “plead[] factual
content that allows the court to draw the reasonable inference that the defendant is liable for the
misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). Plausibility does not require
probability, but a plaintiff must establish “rnore than a sheer possibility that a defendant has acted
unlawfully.” Id. The court must accept well-pleaded facts as true and view them in the light most
favorable to the plaintiffl Sonm'er v. State Form Mur. Auto. Ins. Co., 509 F.3d 673, 675 (Sth Cir.
2007). However, the court does not accept as true “conclusory allegations unwarranted factual
inferences or legal conclusions” Ferrer v. Cf'revron Corp., 484 F.3d 776, 780 (Sth Cir. 2007). A
plaintiff must provide “rnore than labels and conclusions, and a formulaic recitation of the elements
of a cause of action will not do.” Twombly, 550 U.S. at 555 (internal citations omitted). “Factual
allegations must be enough to raise a right to relief above the speculative level . . . on the
assumption that all the allegations in the complaint are true (even if doubtful in fact).” Id. (internal
citations omitted).

The ultimate question is whether the complaint states a valid claim when viewed in the

light most favorable to the plaintiff Great Plains Tr. Co. v. Morgan Slanley Decm Witrer & Co.,

 

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313 F.3d 305, 312 (Sth Cir. 2002). At the motion to dismiss stage, the court does not evaluate the
plaintiff s likelihood of success lt only determines whether the plaintiff has stated a claim upon
which relief can be granted Monn. v. Adoms Realty Co., 556 F.2d 28 8, 293 (Sth Cir. 1977).

III. ANALYSIS

The purpose of the FCA is to combat fraud against the government Robertsorz v. Bell
Helz`copter Textron, Inc., 32 F.3d 948, 95l (5th Cir. 1994). To that end, the FCA contains a
Whistleblower provision that “protects employees who take steps to uncover and report an
employer’s fraudulent submission of claims to the government.” Guerrero v. Toml Renal Care,
lnc., No. EP-l l~CV-449-KC, 2012 WL 899228, at *3 (W.D. Tex. Mar. 12, 2012). An FCA retaliation
claim has three elements: (l) the plaintiff engaged in a protected activity; (2) the defendant knew
that the plaintiff engaged in the activity; and (3) the defendant discriminated against the plaintiff
because the plaintiff engaged in the activity. United States ex rel. George v. Bos. Sci. Corp., 864
F. Supp. 2d 597, 603-04 (S.D. Tex. 2012) (citing Unfred Stotes ex rel Groves v. ITT Educ. Servs.,
rnc_, 234 F. supp. 2d 487, 510 (s.D. rex. 2003)).

Plaintiff alleges that he engaged in protected activities falling into two categories: (l ) preparing,
filing, and participating in qui tam litigation5 and (2) making “eff`orts to stop one or more violations of
laW.” Third Am. Compl. 11 35. Plaintiff alleges that Defendant was aware that Plaintiff engaged in
these activities because Klinger said Martin and Kite were concerned that Plaintiff was filing a lawsuit,
the DOL and United States Attorney’s Office conducted onsite inquiries, Martin told Lane that Martin
was sure Plaintiff had filed a lawsuit, and Plaintiff made complaints directly to Martin Plaintiff

contends that as a result of the relationship between COl and DJI, Martin’s, Kite’s, and other

 

5 Plaintiff may have abandoned this theory to some degree, as he now argues that the “gravarnen of his complaint” is
“that the internal reporting and other actions taken by LPlaintiff] long prior to his termination, other than the filing of
the qw‘ mm lawsuit” were protected activities and that Plaintiff’s “de facto demotion” constituted an adverse
employment action that amounted to retaliation Resp. 131-ill (emphasis added). However, the Court will address this
theory out of an abundance of caution

 

 

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employees’ knowledge can be imputed to Defendant Finally, Plaintiff alleges that he was
discriminated against as a result of participating in protected activity because, inter alia, he claims he
was harassed, threatened, essentially demoted, suspended, and terminated

A. ProtectedActc'vilj)

Defendant does not challenge whether preparing for, filing, and participating in a qui tam
action constitute protected activities, and the Cour't finds that these actions are protected under the
FCA. See Jomison, 2017 WL 3215289, at *6 (citing Robertson, 32 F.3d at 951). The second
category, efforts to stop alleged legal violations, mainly involves allegations that Plaintiff made
informal internal complaints6 Defendant argues that Plaintiff is precluded from asserting claims
based on his internal complaints because Judge Boyle dismissed claims arising out of this alleged
protected activity with prej udice. l"lowever, this finding related only to the Internal Report, not to the
other internal complaints Plaintiff alleges that he made. Jamz`son, 2017 WL 3215289, at *ll.
Defendant next challenges the internal complaints at the second step of the analysis, arguing that
these complaints were insufficient to make Defendant aware that Plaintiff engaged in a protected
activity. Defendant also challenges Plaintiff’s other alleged effort to stop legal violations,
“[r]eporting of drug possession, student violence, and other criminal activity to the [police],” at
the second step of the analysis. Third Am. Compl. 1[ 35. Thus, the Court will proceed with its
analysis as though the internal complaints and police reports are protected activities and will

address Defendant’s remaining arguments at the second stage of the FCA retaliation analysis

 

6 Specitically, Plaintiff alleges that he protested Martin’s instructions not to report criminal activity, criticized the
amnesty program, informed Martin that the amnesty program was illega], and discussed the illegality of the amnesty
program with Martin. Third Am. Compl. jt 35. in the summary of his protected activities, Plaintiff claims that in
paragraphs 31 and 32 of the Third Amended Complaint, he states that he discussed the illegality of the program with
Center Director Ominyi Amoran. Id. However, this allegation does not appear in the cited paragraphsl

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B. EmployerAwareness

“A successful [FCA] retaliation claim requires Defendant to have known Plaintiff engaged in
a protected activity.” Guerrero, 2012 WL 899228, at "‘7 (citing Um'red States ex rell Patror) v. Shcrw
Servs., L.L.C. , 418 F. App’x 366, 371~72 (Sth Cir. 2011)). Protected activity is activity that reasonably
could lead to an FCA case. Um`ted States ex rel King v. Solvoy S.A., No. H-06~2662, 2012 WL
1067228, at *3 (S.D. Tex. Mar. 28, 2012). “lt is insufficient for the [plaintiff] to show that the
employer knew that the whistleblower had concerns about compliance with the law; []he must show
that the employer was on notice of the distinct possibility of qui tam litigation." Guerrero, 2012 WL
899228, at *7 (quoting Uniteo' Stotes ex rel Gonzalez v. Fresenius Med. Care N. Am., 748 F. Supp. 2d
95, 104 (W.D. Tex. 20l0)); See also Robertson, 32 F.3d at 952 (finding that employer “could not
possess the retaliatory intent necessary to establish a violation of the whistleblower provision of
the {FCA]” because plaintiff “failed to present sufficient evidence to support a finding that
[employer] was aware that [plaintiff’s] investigations were in furtherance of a qui tom action”).

i. Defendant’s Knowledge of Quz` Tam Action

The first protected activity Plaintiff engaged in is the preparationl and filing of the qui tam
lawsuit Although Plaintiff has made substantial changes to his pleadings in an attempt to cure the
deficiencies identified in Judge Boyle’s prior ruling, the Court finds that the Third Amended Complaint
still fails to plead facts sufficient to establish that Defendant had knowledge of Plaintiff s preparation
for or participation in the qui tam action at the time it took any of the alleged adverse actions Judge
Boyle concluded that the allegations that (l) Klinger informed Plaintiff that Martin was telling
employees not to give information to Plaintiff and (2) information from Plaintiff s meeting with

the United States Attorney’s Office “must have” been leaked to management were inadequate to

 

7 Specif:cally, Plaintiff alleges that he gathered information regarding Defendant’s alleged fraud and furnished
information to “counsel who were assisting Plaintiff with preparation of [the] lawsuit.” Third Am. Compl. 1135.

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establish notice. Jomisoa, 2017 WL 3215289, at *8. Plaintiff has altered and/or expanded upon
these allegations and has added the allegation regarding Martin’s conversation with Lane. However,
none of these changes rectify the deficiencies identified by Judge Boyle.

Plaintiff reasserts the Klinger allegation and adds that Klinger allegedly said that “Martin
and Kite were very concerned that Plaintiff had filed or was going to file a lawsuit based on the
DOL violations Plaintiff had seen at the [NTJCC].” Third Am. Compl. 11 36. This added allegation
does not cure the defects identified by Judge Boyle. To state a viable FCA retaliation claim, Plaintiff
must allege facts sufficient to establish that Defendant was aware that Plaintiff was “either taking action
in furtherance of a private qui tam action or assisting in an FCA action brought by the government.”
Um'teo’ Srares ex ref Roy v. Am. Fuel Cell & Cooted Fobrics Co., No. 1:09-CV-01016, 2015 WL
874824, at *6 (W.D. Ark. Mar. 2, 2015).

Plaintiff’s allegation that Martin and Kite were concerned that Plaintiff either was going to file
or had already filed a lawsuit based on violations of the DOL regulations does not satisfy this
requirement “it is insufficient for [a plaintiff] to show that the employer knew that the whistleblower
had concerns about compliance with the law‘, [he} must show that the employer was on notice of the
distinct possibility of qui tom litigation.” Gonzalez, 748 F. Supp. 2d at 104; see also Unfted States ex
rel. Yesudion v. Howord Uru`v., l53 F.3d 73l, 743 (D.C. Cir. 1998) (“l\/lerely grumbling to the
employer about . . . regulatory violations does not . . . constitute protected activity.”). Based on
Plaintiff’s allegations, the Court cannot plausibly infer that Martin and Kite were concerned that
Plaintiffs unidentified lawsuit was a qui tam lawsuit And, as to the allegation that Martin told
employees not to give information to Plaintiff, Judge Boyle previously noted that there are “any
number of plausible reasons” why Martin might have given this instruction. Jomison, 2017 WL
3215289, at *8. Plaintiff assumes that Martin and Kite’s concern about a potential lawsuit

motivated Martin’s instruction to Klinger, but he does not provide sufficient factual allegations to

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support that assumption

Additionally, the alleged conversation between Martin and Klinger occurred in December
2013. Third Arn. Compl. 11 36. In the related qui tam litigation, however, Plaintiff alleged that
Martin ceased to be employed by DJI in or before November 2013. See United Stales ex rel.
Jamison v. Del-Jen, Inc., 747 F. App’x 216, 220 (Sth Cir. 20l8). And, Kite was COI’s
principal/owner, not DJI’s. Third Am. Compl. 11 13. Thus, even if the Klinger conversation
demonstrated that Martin and/or Kite was aware of Plaintiff’s participation in a protected activity,
Plaintiff would have to establish a basis for imputing that knowledge to Defendant As discussed
below, he has failed do so. See infra § III.B.iii.

Plaintiff also claims that Defendant “must have” been alerted to the existence of the qui
tam litigation because the DOL, United States Attorney’s Office, and Offiee of Inspector General
conducted onsite inquiries at the NTJCC shortly after the filing of the lawsuit See Third Am.
Compl. im 34, 37. Plaintiff contends that these visits, “accompanied by the ongoing disputes that
Plaintiff had been having with Martin and other supervisors . . ., alerted Defendant to the pendency of
the [qui tam} lawsuit.” Id. 1]37. The Court finds that these allegations are insufficient to establish that
Defendant had constructive knowledge of Plaintiff" s participation in the lawsuit Plaintiff’s
conclusory allegations require the Court to make an improper inferential leap that Defendant not
only knew of the existence of the qui tam litigation based on the DOL’s onsite inquiries, but also that
it knew that Plaintiff was involved in the litigation The Court declines to accept Plaintist

“unwarranted factual inference[].”8 Ferrer, 484 F.3d at 780.

 

5 To the extent that Plaintiff alleges that Defendant had actual knowledge of the qui tam iawsuit, the Court brietly notes that
the action remained under seal until Nove:nber 20, 2014, five months after Plaintiff was terminatedl The FCA mandates
that while a qui tam litigation is under seal, relators and the United States Attorney’s Oftice are prohibited from disclosing
the existence of a lawsuit or the underlying allegations to anyone other than the reiator’s counsel and the Government
agents assigned to the case. S!ate Fm'm F."re & Cas. Co. v. United Srates ex )'el'. Rr'gsby, l37 S. Ct. 436, 438 (20¥6).

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Finally, Plaintiff now alleges that Martin knew about Plaintiff’s participation in the qui tam
action because during Martin’s interview with Lane, Martin became upset and “blurted out” that
Martin “was sure that Plaintiff had filed a lawsuit.” Third Am. Compl. 11 42. Plaintiff adds that “Martin
specifically asked Lane if Plaintiff had ever discussed filing a lawsuit against D.l l or COI for fraud and
violations of DOL regulations.” Id. This allegation may be sufficient to establish that Martin had
knowledge of the potential of a qui tam lawsuit, as Martin specifically asked about the possibility that
Plaintiffhad filed a lawsuit for fraud. See Guerrero, 2012 WL 899228, at *7 (“[C]ourts decide whether
an employer Was on notice of possible qui tam litigation by analyzing whether the employee
characterized his or her complaints in terms of fraud or illegality.”). Even if the Court could plausibly
infer from Martin’s statement that Martin had knowledge of Plaintiff’ s qui tam litigation, however,
Martin’s alleged statement was made after Plaintiff’ s termination and, thus, after the alleged adverse
actions had already taken place. There is no indication that Martin’s statement was based upon
knowledge and information that Martin obtained prior to Plaintiff’ s termination

ii. Defendant’s Knowledge of Intemal Complaints and Police Reports

The second category of protected activities Plaintiff engaged in is the making of various
internal complaints and the reporting of various incidents to the McKinney Police Departmentl Like
the Internal Report, which Judge Boyle found fatally deficient, Plaintist “protests” about Martin’s
instructions not to report criminal activity and “criticism” of the amnesty program concerned Plaintiff’ s
supervisors’ purported noncompliance with applicable policies, regulations, and agreements Third
Am. Compl. 1i35. But, “[m]erely grumbling to the employer about . . . regulatory violations does
not . . . constitute protected activity.” Yesudian, 153 F.3d at 743; see also United Stotes ex rel
Po)‘lilla v. Rl`verview PostAcute Care Ctr., No. 12~1842 (KSH), 2014 WL 1293 882, at *18 (D.N.J.

Mar. 31, 2014) (granting motion to dismiss where employer “did not know [plaintif`f] was engaging

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in protected conduct because she raised nothing more than regulatory concerns” (internal quotation
marks omitted)).

Further, Plaintiff" s internal complaint regarding Martin’s alleged “instructions not to report
criminal activity” indicates that he expressed concerns that Were part of his duties as Safety,
Security, and Transportation Manager. Third Ani. Compl. il 35. And, based on Plaintiff’s
allegations, his conduct was consistent with his responsibilities as Safety, Security, and
Transportation Manager. See, e.g., id. il 22 (“Plaintiff protested, stating that he had been hired to
[ensure] that both state and F ederal laws were being followed at the NTJCC, and that applicable
DOL regulations would be followed.”). Thus, this complaint was insufficient to put Defendant on
notice that Plaintiff was engaged in protected activity. See Seolea’ Appellant I v. Sealea' Appeflee
I, 156 F. App’x 63 0, 635 (5th Cir. 2005) (iinding no basis to infer employer knowledge of protected
activity where concerns expressed and conduct engaged in by whistleblower were consistent with
his job duties).

Similarly, the Court finds that Plaintifi`s reports to the McKinney Police Department would
not put Defendant on notice that he was engaging in a protected activity. Plaintiff’ s job duties
included “serv[ing] as a liaison to the McKinney Police Department” and “call[ing] the police
when any narcotics were discovered at the [NTJCC].” Third Am. Compl. ‘|Hl 18-19. Thus, his
conduct in calling the police was consistent with his responsibilities as Safety, Security, and
Transportation Manager. Nothing in Plaintiff" s allegations suggests that his reporting would put
Defendant on notice that qui tam litigation was a possibility

ln the Third Amended Complaint, Plaintiff adds that he informed Martin that the NTJCC’s l
non-compliance with the DOL’s “zero~tolerance” policy for drugs and violence and failure to

report the incidents of student violence and drug abuse “would amount to committing fraud against

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the Government.” Third Am. Compl. 11 24. Plaintiff also alleges that he “advised Martin that the
NTJCC was committing fraud on the United States Government by retaining people as students,
despite violations of the ‘Zero tolerance’ policy.” Id. il 31. These complaints likely demonstrate
that Martin was on notice of Plaintiff’s protected activity. See Robertson, 32 F.3d at 951 (noting
that successful FCA retaliation cases generally involve “the employee [telling] the employer that she
was concerned about the company defrauding the government”). However, these complaints only
establish a basis for Martin’s knowledgel To successfully plead a retaliation claim, Plaintiff must
establish a basis for imputing Martin’s knowledge to Defendant For the reasons set forth below,
he has not done so.

iii. Impuring Martin ’s and/or Kite ’s Knowledge to Defendant

Although Plaintiff offers several theories to support the imputation of Martin’s and/or
Kite’s knowledge to Defendant, none are adequate to establish that Defendant was aware of
Plaintiff’ s participation in a protected activity. First, Plaintiff attempts to show the Court that
Martin was employed by D.ll at the relevant time. Plaintiff repeatedly references paragraph 18 of
the Third Amended Complaint, where he allegedly states unequivocally that Martin was an
employee ofDJl. See, e. g., Resp. 15. However, that statement is nowhere to be found in paragraph
18. The Court assumes that Plaintiff intends to reference paragraph 20, where he states, “Martin
at the time was technically an employee of DJI.” Third Am. Compl. 1[ 20. The inclusion of the
word “technically” is indicative of the vagueness that pervades Plaintiff`s allegations The Court
cannot determine when Martin was employed by DJI and when she was employed by COI. This
confusion was recognized by the Fifth Circuit in the related qui tam action, in which Plaintiff and
his fellow relators alleged that Martin was an employee of DJ l at some point between October

2010 and November 2013. Jamt`son, 747 F. App’x at 220. The Fifth Circuit found that there was

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“no way of knowing which of Martin’s alleged acts could be attributable to [DJl] as opposed to
COl.” Id. The Court finds that the same problem persists in the instant action.

Further, Plaintiff’ s conclusory suggestion that Martin was an employee of Defendant at the
time Martin allegedly obtained knowledge of Plaintiff’s qui tam litigation (around November 2013)
seems to be contradicted by the internal Report, which identifies Martin as a COI employee before
detailing the alleged retaliation perpetrated by Martin. See Pl. ’s Ex. 7, at 74 (“Mrs. Martin is employed
by the current contractor, [COI}. On October 2013 lsic], l filed a harassment complaint against Mrs.
Martin . . . .”). Thc internal Report also identities Martin as “Deputy Director,” a job title not included
in the list of positions that reported to Dli. lai ; see also Pl. ’s Ex. 3, at 40-4l (listing positions reporting
to DJI).

ln an attempt to diminish the importance of which entity employed Martin at which time,
Plaintiff alleges that that “even if at some point Martin became a COl employee, at all relevant times
the Security responsibilities were those of D.ll, and any direction or supervision of Plaintiff by Martin
was done with the knowledge, acquiescence, and on behalf of DJI.” Third Am. Compl. il 14. ln the
related qui tam litigation, the Fifth Circuit determined that Plaintiff failed to plausibly allege facts from
which the Court could impute liability to Dll/Defendant based upon the conduct or knowledge of
Martin. Jamison, 747 F. App’X at 220 (“The complaint . . . does not permit the reasonable inference
that ‘a relationship between [l\/Ialtin and DJI] giving rise to the right of control’ existed such that [l)Jl]
could be ‘liable for the misconduct alleged.”’).

Plaintiff’s allegations regarding Kite are similarly deficient Kite’s knowledge can only be
imputed to COl, because she was COl’s principal/owner. Third Am. Compl. 11 13.

“[E]ven assuming that Martin [or Kite] could impute her knowledge to Defendant,” however,

the Third Amended Complaint “fails to show that she plausibly did.” Jomz'son, 20l7 WL 3215289, at

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*8. As before, Plaintiff has not pleaded facts to demonstrate the relationship between COI and
Defendant or to demonstrate “how, as a result of that relationship, Martin’s for Kite’s] knowledgea-
assuming she had any-of Plaintiff’s engagement in protected activities was passed on to
[Defendant].” Id.

Plaintiff first attempts to establish the requisite relationship by pointing to the Subcontract
Agreement, pursuant to which COI and DJI jointly operated the NTJCC. Jamison alleges that the
two entities’ employees constantly interacted with one another, were aware of the operations and
events at the N'I`JCC, and “operated as one.” Third Am. Compl. 1120. However, the express terms
of the Subcontract Agreement provide that DJI is “an independent Subcontractor and not an
employee or agent of the Contractor [COI] or DOL, Job Corps.” Pl.’s Ex. 3, at art. 7.D. Thus, the
express terms of the Subcontract Agreement confirm that COl and D.ll operated as separate
corporate entities and provide no basis upon which to impute the knowledge of a COI employee
to Defendant

Plaintiff appears to imply that, notwithstanding the language in the Subcontract Agreement,
COl was the alter ego of DJ 1. To establish alter ego status, Plaintiff must show that DJl exercised
such control over “the internal business operations and affairs” of COI that the corporate
separateness of the two entities can be disregarded. Horgmve v. Fz'breboaro' Corp. , 710 F.2d l l54,
1160 (5th Cir. l983). Courts in the Fifth Circuit consider twelve factors in conducting this
analysis See Gundle Lim'rzg Consfr. Corp. v. Aa'oms Cly. Asphalt, ]nc., 85 F.3d 201, 208-09 (5th
Cir. 1996). Plaintiff has not addressed any of the factors directly. Instead, Plaintiff simply alleges
that COl and DJI “were working together and directing each other’s employees” and “operated as
one.” Third Am. Compl. il 20. Plaintiff expresses his frustration at being “repeatedly confronted

with claims that the actions complained of were those of another corporation” and argues that there

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was no bright line distinguishing employees of one entity from those of the other. Resp. 8 n.8.
Nonetheless, Plaintiff s unadorned allegations are insufficient to overcome the presumption of
corporate separateness See .]omz`son, 747 F. App’x at 220 (finding allegation that “COl was nothing
but a fraudulent shell front company” to be insufficient to plead attributed liability theory). Without a
basis for attributed liability, Plaintiff"s allegations do not support the reasonable inference that
D.ll/Defendant had the requisite notice of Plaintiff’s protected activity.

in his Response, Plaintiff argues that Defendant can be liable for COl’s wrongdoing
through application of the “right of control” rule. See Redt`nger v. Living, Inc., 689 S.W.2d 415,
418 (Tex. l985). Under this rule, “[o]ne who entrusts work to an independent contractor, but who
retains the control of any part of the work, is subject to liability for physical harm to others for
whose safety the employer owes a duty to exercise reasonable care, which is caused by his failure
to exercise his control with reasonable care.” Id. (quoting RESTATEMENT (SECOND) OF TORTS §
414 (1977)). The Third Amended Complaint contains several allegations that COl exercised
control over D.ll’s performance under the Subcontract Agreernent and exercised control over DJl’s
employment of Plaintiff, which forms the basis of Plaintiff’ s alleged injury. See Third Am. Compl.
fill 6, l2-l4, 17-18, 20, 22, 24-25, 39. Therefore, Plaintiff contends that he has sufficiently alleged
that COI’s knowledge can be imputed to Defendant through application of the “right of control”
rule.

Even assuming Plaintiff has alleged facts sufficient to support the conclusion that COl
exercised control over DJl with respect to Plaintiff"s employment, the “right of control” test only
imputes liability for the acts of an independent contractor to the general contractor. Thus, if the
test applied in this case, it could result only in holding the general contractor, COI, liable for the

alleged wrongful acts of its independent contractor, DJI. See Redinger, 689 S.W.2d at 4l8.

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Plaintiff has not cited to any authority to support his theory that DJI, as subcontractor, could be
liable for the acts of COI, the general contractor.

For the foregoing reasons, the Court finds that Plaintiff has not pleaded sufficient facts
from which this Court could impute Martin’s or Kite’s alleged knowledge of Plaintiff’ s protected
activity to Defendantl

C. Adverse Acts and Causation

Defendant also attacks the final element of Plaintiff’s FCA retaliation claim, contending
that it did not discriminate against Plaintiff as a result of his participation in a protected activity.
First, Defendant argues that Plaintiff has alleged no facts causally connecting any alleged protected
activity to his terminationl The Court agrees, as Plaintiff does not allege that either Martin or Kite
was involved in Plaintiff s termination or that that the person who made the decision, Lovett, was
aware of Plaintift"s protected activity. However, Plaintiff alleges myriad adverse actions in
addition to his termination

Plaintiff contends that Martin, and possibly others, retaliated against him by: (i) harassing
Plaintiff for his complaints about the amnesty program, (ii) threatening to terminate his employment if
he continued to report incidents of criminal conduct to the police, (iii) instructing the security staff to
no longer notify Plaintiff of incidents of violence or drug use or providing Plaintiff with information
regarding any concerns they may have about criminal conduct by students, (iv) transferring Plaintiff’s
investigation responsibilities to the Equal Opportunity Manager, and (v) barring Plaintiff from
attending weekly senior management meetings Third Arn. Compl. fm 26-33, 39. Each of these alleged
adverse actions occurred before Plaintiff filed his qui tam lawsuit, so there can be no causal connection
between that protected activity and any of the adverse actions See Jamz'son, 2017 WL 3215289, at *7

(noting that “as a temporal matter” any of Plaintiff`s allegations regarding alleged “roadblocl<s” put in

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Plaintiff’s way to impede him from doing his job occurred before the filing of his qui tam litigation
and, therefore, did not plausibly demonstrate that Defendant had notice of his qui tam action).

Plaintiff alleges two actions, his suspension and alleged blackballing, that took place after the
lawsuit was filed. See Third Am. Compl. 1{44. lt is unclear who allegedly blackballed Plaintiff, and
it appears that COI caused Plaintiff’s suspension See Pl.’s Ex. 8 (“As you are aware you Were placed
on paid leave of absence pending investigation after COI raised concerns about your performance and
conduct at the Center.”). As discussed above, the retaliator’s identity is significant because Plaintiff
has failed to plead sufficient facts horn which this Court could impute liability for actions taken by
COI to DJl/Defendant.

This pleading defect is also fatal to Plaintiff s contention that the other adverse actions occurred
as a result of Plaintiff s second protected activity, the internal complaints The harassment, threats,
and “defacro” demotion were allegedly perpetrated by Martin and, perhaps, other COI employees
Resp. 13. Plaintiff has failed to plead with sufficient particularity any specific adverse employment
actions, other than his termination, taken against him by an agent, manager, or supervisor of Defendant
In addition, as discussed above, this Court has already determined that Plaintiff has failed to plausibly
plead that DJl/Defendant had knowledge of Plaintiff’s internal complaints or that Defendant was
otherwise put on notice that Plaintiff was engaging in protected activities that reasonably could have
led to an FCA investigation or claim.

D. Amendment

Whether to allow a party to amend its complaint “is left to the sound discretion of the district
court.” Udeigwe v. Tex. Tech Univ., 733 F. App’x 788, 794 (5th Cir. 20l 8) (quoting United Smtes. ex
rel. Willard v. Humana Health Pch ofTexr, Inc., 336 F.3d 375, 387 (Sth Cir. 2003)). In determining
whether to allow an amendment of the pleadings, a court considers the following: “undue delay, bad

faith or dilatory motive on the part of the movant, repeated failure to cure deficiencies by amendments

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previously allowed, undue prejudice to the opposing party by virtue of allowance of the amendment,
land] futility of amendment.” Foman v. Da.i)is, 371 U.S. 178, 182 (l962). A court is justified in
denying leave to amend when a plaintiff “fails to cure deficiencies by amendments previously
allowed.” Willara’, 336 F.3d at 386 (quoting Fomcm, 371 U.S. at l82).

Over the past two years, Plaintiff has had several opportunities to amend his complaint to
plead sufficient facts to state a claim of retaliation under the PCA. Plaintiff has had the benefit of
Defendant’s prior motions to dismiss and Judge Boyle’s prior ruling to alert him to the problems
with his pleadings Nevertheless, he has failed to cure these deficiencies or otherwise plead
sufficient facts to support his claim of retaliation under the FCA. The Court presumes that Plaintiff
has pleaded his best case at this point and, therefore, will not allow him another opportunity to
amend his complaint

IV. CONCLUSION
For the foregoing reasons, the Court grants Defendant’s Motion to Dismiss and dismisses

this action with prejudice

SO ORDERED.

SIGNED February § , 2019.

Wcr,a,t__

KAREN GREN sCHoLER
UNITED sTATEs DISTRICT JuI)GE

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